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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

DERRICK TYRONE GRANTLEY
Plaintiff Case No:3:16-cv-1147-TJC-PDB
VS.
BRIAN S. STARLING, et al.,
Defendants.
DECLARATION OF JACQUANN HARVARD
JACQUANN HARVARD DECLARES:

1. On March 8, 2016, | was moved from Charlie wing at Florida State Prison during the times of 8
pm to 9 pm and placed in B1209 on self-harm observational Status.

2. Captain Brian S.Starling had ordered for me to be placed on property restriction because | had
my cell window covered with a towel.

3. | was angry because of this, and | declared a psychological emergency and said that | was
suicidal.

4. My medical file will prove that | was places in cell 81209 on March 8, 2016. | was also written a
Disciplinary Report the same day which will prove this.

5. Furthermore, that morning on March 9,2016 at approximately 1:40am, | seen with my own eyes,
Sat, Merritt and officer Allen kicking inmate Grantley in the face and head and back area while
inmate Grantley was laying on the floor not resisting.

6. While this was going on, Captain Starling was standing in the door way of the cell watching.

7. lam willing to testify about this in open court, under oath, under penalties of perjury, | declare
that | have read the foregoing declaration and the facts stated it are true and correct,

Signature Date
